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                           UNITED STATES BANKRUPTCY COURT
                              WESTERN DISTRICT OF TEXAS
                                   EL PASO DIVISION

   IN RE:                                         §
                                                  §
   PDG PRESTIGE, INC.,                            §                  Case No. 21-30107
                                                  §
   Debtor.                                        §
                                                  §

         OBJECTION TO LEGALIST MOTION TO SELL (RE: DOCKET NO. 257)

  TO THE HONORABLE H. CHRISTOPHER MOTT, U.S. BANKRUPTCY JUDGE:

          PDG Prestige, Inc., reorganized debtor (the “Debtor” or “PDGP”) files this objection to
  the Legalist motion to sell (Docket No. 257) (the “Motion”) and in support thereof would show
  to the Court the following.

         1.     Debtor objects to the Motion and disputes the factual predicate contained therein.

         2.     Since October-November, 2022, Legalist:

                a. directly and/or indirectly has controlled the sale process of Lot 3A, including
                   the timing of any sale; and

                b. has rejected one or more sale offers for the remaining Lot 3A, which offers
                   were procured by the Debtor at the request of Legalist and presented by the
                   Debtor to Legalist, and which offers separately came from third parties and
                   from Mr. Dixson, and ranged at various times from $1.4 million to $2.0
                   million. See Exhibit PDG010.

                c. Debtor understands that Mr. Dixon’s offer of $2.0 million is still open to
                   Legalist.

         3.     The highest remaining offer of those offers should be investigated and if still
                available should be pursued to Legalist to closing prior to engaging in another
                sale process.

         4.     The parties have possessed a CBRE appraisal of Lot 3A from November or
                December, 2022, indicating the value of the land.

         5.     Legalist responded to the sale offers that it required time to study the valuation of
                the remaining Lot 3A, and yet after eight to nine months have passed for such
                valuation study without any movement from Legalist.



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         6.      Another sale process is unlikely to produce a result higher than the offer(s) made
                 to date. On the other hand, the time sought by Legalist unnecessarily will
                 increase interest and other expenses on the debt.

          WHEREFORE, the Debtor respectfully requests that the Court deny the Motion. Debtor
  respectfully requests such other and further relief to which Debtor is entitled at law or in equity.


  Dated: June 23, 2023                      Respectfully submitted:

                                            WEYCER, KAPLAN, PULASKI & ZUBER, P.C.

                                            By:     /s/ Jeff Carruth
                                                  JEFF CARRUTH (TX SBN:. 24001846)
                                                  3030 Matlock Rd., Suite 201
                                                  Arlington, Texas 76105
                                                  Telephone: (713) 341-1158
                                                  E-mail: jcarruth@wkpz.com

                                            ATTORNEYS FOR
                                            PDG PRESTIGE, INC.
                                            REORGANIZED DEBTOR


                                  CERTIFICATE OF SERVICE
  The undersigned hereby certifies that a true and correct copy of the foregoing was served on June
  23, 2023 by electronic notice, only, to counsel for Legalist and all ECF users who have appeared
  in this case to date.


                                                        /s/ Jeff Carruth
                                                        JEFF CARRUTH




  OBJECTION (RE: DOCKET NO. 257) — Page 2                                                 2352166.DOCX[1]
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  21-30107-hcm Notice will be electronically mailed to: (DUPLICATES DELETED)

  James W. Brewer on behalf of Creditor New Mexico Real Estate Advisors, Inc. d/b/a Colliers
  International
  jbrewer@kempsmith.com, tschoemer@kempsmith.com

  Jeff Carruth on behalf of Debtor PDG Prestige, Inc.
  jcarruth@wkpz.com, jcarruth@aol.com;ATTY_CARRUTH@trustesolutions.com

  Harrel L. Davis, III on behalf of Creditor Suresh Kumar
  hdavis@eplawyers.com, vrust@eplawyers.com;vpena@eplawyers.com

  James Michael Feuille on behalf of Creditor Dennis Crimmins
  jfeu@scotthulse.com, tmar@scotthulse.com

  David P. Lutz on behalf of Debtor PDG Prestige, Inc.
  dplutz@qwestoffice.net

  David P. Lutz on behalf of Defendant PDG Prestige, Inc.
  dplutz@qwestoffice.net

  Michael R. Nevarez on behalf of Interested Party Westar Investors Group, LLC
  MNevarez@LawOfficesMRN.com, MRN4Bankruptcy@gmail.com

  Brad W. Odell on behalf of Creditor City bank
  bodell@mhba.com, memert@mhba.com;mreynolds@mhba.com;bwodellscvtxw@ecf.axosfs.com

  Clyde A. Pine, Jr. on behalf of Creditor HD Lending, LLC
  pine@mgmsg.com, clyde.pine@gmail.com

  James W Rose, Jr on behalf of U.S. Trustee United States Trustee - EP12
  james.rose@usdoj.gov,
  brian.r.henault@usdoj.gov;carey.a.tompkins@usdoj.gov;Roxana.peterson@usdoj.gov;aubrey.thomas@us
  doj.gov

  Donald P. Stecker on behalf of Creditor City Of El Paso
  don.stecker@lgbs.com

  Casey Scott Stevenson on behalf of Plaintiff Dennis Crimmins
  cste@scotthulse.com, svar@scotthulse.com

  United States Trustee - EP12
  USTPRegion07.SN.ECF@usdoj.gov




  JOINDER (RE: DOCKET NOS. 221, 244) — Page 3                                                  2352166.DOCX[2]
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                     ,:8I>DC  JN:G H=6AA =6K: JCI>A 6C9 I=GDJ<=;>K:   ;GDB I=: ;;:8I>K: 6I:
             I=:  $   L>I=>C L=>8= ID 8DC9J8I 6AA >CHE:8I>DCH  ;:6H>7>A>IN HIJ9>:H  9J:
             9>A><:C8:  6C9 ID D7I6>C 6C 688:EI67A: I:C6CI 6C9 AD6C  L=>8= JN:G B6N  6I JN:GH HDA:
             9>H8G:I>DC  9::B C:8:HH6GN   JN:G B6N I:GB>C6I: I=>H DCIG68I ;DG 6CN DG CD G:6HDC EG>DG ID
             :ME>G6I>DCD;I=: :6H>7>A>IN*:G>D96HI=:H6B:B6N7::MI:C9:9 6C9H=6AAG:8:>K:6G:;JC9D;
             >IH6GC:HI'DC:N HJ7?:8IID,:8I>DC  #CI=::K:CIJN:G9D:HCDII:GB>C6I:I=>HDCIG68I
             EG>DGID:ME>G6I>DCD;I=: :6H>7>A>IN*:G>D96HI=:H6B:B6N7::MI:C9:9 6AA6GC:HI'DC:N
             L>AAI=:C7:G:A:6H:9ID,:AA:G6C9CDC G:;JC967A:7JIHI>AA6EEA>867A:IDI=:*JG8=6H:*G>8: 
             HJ7?:8I ID ,:AA:GSH ;6>AJG: ID E:G;DGB >IH D7A><6I>DCH DG :M8:EI 6H DI=:GL>H: EGDK>9:9 >C I=>H
             DCIG68I;DGI=:G:;JC9D;JN:GSH6GC:HI'DC:N 

                      ,:8I>DC  JN:GH G:EG:H:CI6I>K:H B6N :CI:G JEDC I=: *GDE:GIN ;DG I=: EJGEDH: D;
             8DC9J8I>C< 6CN HIJ9>:H DG I:HIH  >C8AJ9>C<  7JI L>I=DJI A>B>I6I>DC  HD>A I:HIH  D7I6>C>C<
             IDED<G6E=>86A >C;DGB6I>DC  8DC9J8I>C< :C<>C::G>C< 6C9 :8DCDB>8 ;:6H>7>A>IN HIJ9>:H 6C9 ;DG 6AA
             DI=:G H>B>A6G EG:A>B>C6GN LDG@ EGDK>9:9  =DL:K:G  JN:G H=6AA >C9:BC>;N 6C9 =DA9 =6GBA:HH
             ,:AA:G ;GDB 6C9 6<6>CHI B:8=6C>8H A>:CH DG 8A6>BH I=6I B6N 7:;>A:9 DC DG 6HH:GI:9 6<6>CHI I=:
             *GDE:GIN 7N 8DCIG68IDGH  HJ78DCIG68IDGH DG B6I:G>6AB:C E:G;DGB>C< HJ8= LDG@ ;DG JN:G 6C9
             ;JGI=:GH=6AA=DA9,:AA:G=6GBA:HH;GDB6CN8A6>B;DGE:GHDC6A>C?JGNDGEGDE:GIN96B6<:6G>H>C<
             DJID;JN:GHJH:6C9>CK:HI><6I>DCHD;I=:*GDE:GIN 


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                      ,:8I>DC      IADH>C< I=:,:AA:GH=6AAG:EG:H:CI6C9L6GG6CIIDI=:JN:GI=6I

                                   -=: ,:AA:G =6H <DD9 6C9 B6G@:I67A: ;:: H>BEA: I>IA: ID I=: *GDE:GIN
             HJ7?:8IDCANIDI=:*:GB>II:9M8:EI>DCH

                                   ,:AA:G=6HCD68IJ6A@CDLA:9<:D;6CN8DC9:BC6I>DCEGD8::9>C<H=6K>C<
             7::C>CHI>IJI:9DGI=G:6I:C:96<6>CHII=:*GDE:GIN

                                    ,:AA:G=6HG:8:>K:9CDCDI>8:D; CDG=6H,:AA:G6CN68IJ6A@CDLA:9<:D;
             6CNK>DA6I>DCHD;6CN;:9:G6A HI6I: 8DJCINDGBJC>8>E6AA6LH DG9>C6C8:H DG9:GH G:<JA6I>DCHDG
             G:FJ>G:B:CIH 6;;:8I>C< I=: *GDE:GIN DG 6CN EDGI>DC I=:G:D;  >C8AJ9>C<  L>I=DJI A>B>I6I>DC  6CN
             CDI>8: G:A6I>C< ID I=: I:HI>C< ;DG  I=: EG:H:C8: >C  DG I=: G:BDK6A ;GDB I=: *GDE:GIN D; 6CN
             =6O6G9DJH DG IDM>8 B6I:G>6AH  =6O6G9DJH DG IDM>8 L6HI:H  8DCI6B>C6CIH  DG 6H7:HIDH DG D;


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             8DBEA>6C8:DG;6>AJG:ID8DBEANL>I=6CN;:9:G6A HI6I:DGAD86AA6LH GJA:H G:<JA6I>DCHDGDG9:GH
             G:A6I>C<I=:G:ID ,:AA:G8DC;>GBHI=6I6AAG:6A:HI6I:EGDE:GINI6M:H6G:E6>98JGG:CI 

                                    -D I=: 7:HI D; ,:AA:GH @CDLA:9<:  I=:G: >H CD 68I>DC  HJ>I DG EGD8::9>C<
             E:C9>C<DGI=G:6I:C:96<6>CHII=:*GDE:GINDG6CNEDGI>DCI=:G:D;DGG:A6I>C<IDDG6G>H>C<DJID;
             I=: DLC:GH=>E DG JH: D; I=: *GDE:GIN DG 6CN EDGI>DC I=:G:D; >C 6CN 8DJGI DG 7:;DG: DG 7N 6CN
             ;:9:G6A  HI6I:  8DJCIN DG BJC>8>E6A 9:E6GIB:CI  8DBB>HH>DC  7D6G9  7JG:6J  6<:C8N DG DI=:G
             <DK:GCB:CI6A>CHIGJB:CI6A>IN 

                                     -=:G:6G:CD69K:GH:DGDI=:GE6GI>:H>CEDHH:HH>DCD;I=:*GDE:GIN

                                  ,:AA:G =6H C:>I=:G I6@:C 6CN 68I>DC CDG ;6>A:9 ID I6@: 6CN 68I>DC L>I=
             G:HE:8IIDI=:EGDE:GINDG=6K>C<6C:;;:8IDCI=:EGDE:GINL=>8==6HDG8DJA9G:HJAI>C6K>DA6I>DC
             D;6CN6EEA>867A:;:9:G6A6C9 DGHI6I:H:8JG>I>:HA6LH 

                                   M8:EI6HH:I;DGI=7:ADL ,:AA:GH=6AA9:A>K:GI=:*GDE:GINIDJN:G6II=:
             ADH>C< ;G:: 6C9 8A:6G D; 6CN >C9:7I:9C:HH H:8JG:9 7N A>:CH 6;;:8I>C< I=: EGDE:GIN  :M8:EI I=:
             *:GB>II:9 M8:EI>DCH  CN ::9 D; -GJHI H:8JG>C< >C9:7I:9C:HH DL:9 7N ,:AA:G L>AA 7: E6>9
             ;GDBHJBH9J:,:AA:G6IADH>C< 

                                    -=:,:AA:G>HCDI6;DG:><CE:GHDCL>I=>CI=:B:6C>C<D;,:8I>DCH6C9
              D; I=: #CI:GC6A +:K:CJ: D9: D;   6H 6B:C9:9    > :  I=: ,:AA:G >H CDI 6
             CDCG:H>9:CI6A>:C ;DG:><C8DGEDG6I>DC ;DG:><CIGJHIDG;DG:><C:HI6I:6HI=DH:I:GBH6G:9:;>C:9
             >CI=:#+6C9#C8DB:-6M+:<JA6I>DCH 

                     ,:8I>DC -=:G:EG:H:CI6I>DCH6C9L6GG6CI>:H8DCI6>C:9>C,:8I>DC H=6AA7:IGJ:6C9
             8DGG:8IDCI=:96I:D;ADH>C<6C9H=6AAHJGK>K:I=:ADH>C<6C98DCI>CJ:>C;JAA;DG8:6C9:;;:8I
             CDIL>I=HI6C9>C< I=: ADH>C< 6C9 8DCHJBB6I>DC D; I=: H6A: 8DCIG68I:9 ;DG =:G:>C  6C9 I=:
             D7A><6I>DC D; I=: JN:G ID 8ADH: I=>H IG6CH68I>DC >H :MEG:HHAN 8DC9>I>DC:9 JEDC H6>9
             G:EG:H:CI6I>DCH6C9L6GG6CI>:H7:>C<IGJ:6C98DGG:8IDCI=:96I:D;ADH>C< 

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                     ,:8I>DC  -=:ADH>C<=:G:JC9:GH=6AAI6@:EA68:6II=:D;;>8:HD;I=:->IA:DBE6CN
             L>I=>C I=>GIN   96NH 6;I:G 8DBEA:I>DC D; I=: :6H>7>A>IN *:G>D9  HJ7?:8I ID H6I>H;68I>DC D; 6AA
             Q99>I>DC6ADC9>I>DCHR9:H8G>7:97:ADL #CI=::K:CII=6II=:ADH>C<LDJA9D88JGDC696NDC
             L=>8=I=:->IA:DBE6CN>HCDIDE:C;DG7JH>C:HHI=:CI=:ADH>C<H=6AA7:I=:C:MI7JH>C:HH96N
             ;DAADL>C<HJ8=96I: >I=:GE6GINB6N 6I>IHDEI>DC :A:8IID:MI:C9I=:ADH>C<;DG6E:G>D9D;
             96NH;DG6CNJC;DG:H::C9:A6NH7NEGDK>9>C<LG>II:CCDI>8:D;I=:H6B:IDI=:DI=:GE6GINEG>DGID
             I=:ADH>C< #CCD:K:CIH=6AAI=:ADH>C<D88JG6;I:G:8:B7:G 

                     ,:8I>DC   I I=: ADH>C<  ,:AA:G H=6AA 9:A>K:G DG 86JH: ID 7: 9:A>K:G:9 ID JN:G  6I
             ,:AA:GHHDA:8DHI6C9:ME:CH: :68=D;I=:;DAADL>C<>I:BH



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                                  L6GG6CIN9::99JAN:M:8JI:96C968@CDLA:9<:97N,:AA:G 6C9>C;DGB
             ;DGG:8DG9>C< 8DCK:N>C<<DD9 >C9:;:6H>7A:;::H>BEA:I>IA:>CI=:*GDE:GINIDJN:G HJ7?:8IDCAN
             IDI=:*:GB>II:9M8:EI>DCH

                                     -:C6CI;G::EDHH:HH>DCD;I=:*GDE:GIN

                                     -=:->IA:*DA>8N>CI=:;DGBHE:8>;>:9>C,:8I>DC =:G:D;

                                ,J8= :K>9:C8: DG 9D8JB:CIH 6H B6N 7: G:6HDC67AN G:FJ>G:9 7N I=: ->IA:
             DBE6CN:K>9:C8>C<I=:HI6IJH6C986E68>IND;,:AA:G6C9I=:6JI=DG>IND;I=:E:GHDCDGE:GHDCH
             L=D6G::M:8JI>C<I=:K6G>DJH9D8JB:CIHDC7:=6A;D;I=:,:AA:G>C8DCC:8I>DCL>I=I=:H6A:D;
             I=:*GDE:GIN6C9

                                  :GI>;>86I>DC>C6;DGBID7:EGDK>9:9DG6EEGDK:97NI=:JN:G H><C:9
             7NI=:,:AA:GJC9:GE:C6AI>:HD;E:G?JGN 8DCI6>C>C<I=:;DAADL>C<

                                             -=:,:AA:GH. , -6ME6N:G#9:CI>;>86I>DC(JB7:G

                                          -=: =DB: 699G:HH D; I=: ,:AA:G DG I=: 7JH>C:HH 699G:HH D; I=:
             ,:AA:G>;I=:,:AA:G>HCDI6C>C9>K>9J6A 6C9

                                      HI6I:B:CI I=6I I=: ,:AA:G >H CDI 6 ;DG:><C E:GHDC L>I=>C I=:
             B:6C>C<D;I=:#+6H9:;>C:967DK: 

             #CI=::K:CII=6II=:,:AA:G;6>AHID9:A>K:GHJ8=:GI>;>86I>DC6IADH>C<DGI=:,:AA:G9:A>K:GHHJ8=
             :GI>;>86I>DC 7JI I=: JN:G =6H 68IJ6A @CDLA:9<: I=6I HJ8= :GI>;>86I>DC >H ;6AH: DG I=: JN:G
             G:8:>K:HCDI>8:I=6II=::GI>;>86I>DC>H;6AH:;GDB6CN6<:CID;I=:JN:GDGI=:,:AA:G I=:JN:G
             H=6AA 7: :CI>IA:9 ID L>I==DA9 ;GDB I=: *JG8=6H: *G>8: 6 HJB :FJ6A ID I:C E:G8:CI   D; I=:
             IDI6A6BDJCIL=>8=DI=:GL>H:LDJA9=6K:7::CG:6A>O:97NI=:,:AA:G;GDBHJ8=H6A: L=>8=HJB
             L>AA7:E6>97NI=:JN:GIDI=:.C>I:9,I6I:H-G:6HJGNEJGHJ6CIIDI=:G:FJ>G:B:CIHD;,:8I>DC
             D;I=:#+6C9I=:G:<JA6I>DCHEGDBJA<6I:9I=:G:JC9:G 

                                  ,J8=DI=:G8ADH>C<HI6I:B:CIH 6;;>96K>IH 6C9DI=:GH>B>A6G9D8JB:CIH6H
             6G: 8DBB:G8>6AAN G:6HDC67A: 6C9 6G: G:6HDC67AN G:FJ>G:9 7N I=: JN:G DG ->IA: DBE6CN DG
             C:8:HH6GNIDH6I>H;N6CNDI=:GEGDK>H>DC=:G:>C 

                      ,:8I>DC II=:ADH>C< JN:GH=6AA9:A>K:GID,:AA:GI=:;DAADL>C<>I:BH

                                      -=:*JG8=6H:*G>8: >CI=:B6CC:GHE:8>;>:9>C,:8I>DC =:G:D;6C9

                                ,J8= :K>9:C8: DG 9D8JB:CIH 6H B6N G:6HDC67AN 7: G:FJ>G:9 7N I=: ->IA:
             DBE6CN:K>9:C8>C<I=:HI6IJH6C986E68>IND;JN:G6C9I=:6JI=DG>IND;I=:E:GHDCDGE:GHDCH
             L=D6G::M:8JI>C<I=:K6G>DJH9D8JB:CIHDC7:=6A;D;I=:JN:G>C8DCC:8I>DCL>I=I=:H6A:D;
             I=:*GDE:GIN 



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                                   ,J8=DI=:G8ADH>C<HI6I:B:CIH 6;;>96K>IH 6C9DI=:GH>B>A6G9D8JB:CIH6H
             6G:8DBB:G8>6AANG:6HDC67A:6C96G:G:6HDC67ANG:FJ>G:97NI=:->IA:DBE6CN 
                     
                     ,:8I>DC   I ADH>C<  I=: ;DAADL>C< >I:BH H=6AA 7: E6>9 7N  69?JHI:9 DG EGDG6I:9
             7:IL::C,:AA:G6C9JN:G
                     
                                    9 K6ADG:B I6M:H 6C9 6HH:HHB:CIH ;DG I=: *GDE:GIN ;DG I=: 8JGG:CI
             86A:C96GN:6GH=6AA7:EGDG6I:9ID96I:D;ADH>C< 6C9I=:,:AA:GH=6AAE6NIDI=:JN:G>C86H=6I
             ADH>C< I=:,:AA:GHEGDG6I6EDGI>DCD;HJ8=I6M:H ,:AA:GHEGDG6I6EDGI>DCD;HJ8=I6M:HH=6AA7:
             76H:9JEDCI6M:H68IJ6AAN6HH:HH:9;DGI=:8JGG:CI86A:C96GN:6G #; ;DG6CNG:6HDC 69K6ADG:B
             I6M:H;DGI=:8JGG:CI86A:C96GN:6G=6K:CDI7::C6HH:HH:9DCI=:*GDE:GIN HJ8=EGDG6I>DCH=6AA
             7: :HI>B6I:9 76H:9 JEDC 69 K6ADG:B I6M:H ;DG I=: >BB:9>6I:AN EG:8:9>C< 86A:C96G N:6G  6C9
             69?JHI:9L=:C:M68I6BDJCIH6G:6K6>A67A: JN:GH=6AA7:G:HEDCH>7A:;DG6AAGDAA768@I6M:H >;
             6CN 
             
                                   #CI=::K:CI6CN69?JHIB:CIHEJGHJ6CIIDI=>H,:8I>DC 6G: HJ7H:FJ:CI
             IDADH>C< ;DJC9ID7::GGDC:DJH I=:C:>I=:GE6GIN=:G:IDL=D>H:CI>IA:9ID699>I>DC6ABDC>:H
             H=6AA>CKD>8:I=:DI=:GE6GIN;DGHJ8=699>I>DC6A6BDJCIH6HB6N7:DL>C< 6C9HJ8=6BDJCIH=6AA
             7:E6>9L>I=>CI:C 96NH;GDBG:8:>EID;I=:>CKD>8: 
             
                                   ,:AA:G H=6AA E6N I=: EG:B>JB ;DG I=: )LC:GH ->IA: *DA>8N  I=: 8DHI D;
             EG:E6G6I>DC6C9G:8DG9>C<D;I=:9::9 6C9DC: =6A;D;6CN:H8GDL;:: 
             
                                   JN:GH=6AAE6NDC: =6A;D;6CN:H8GDL;:: 6AA9J:9>A><:C8::ME:CH:H6C9
             8DHIH 6HHD8>6I:9 L>I= ;>C6C8>C< 6GG6C<:9 7N JN:G  6CN :C9DGH:B:CIH ID I=: )LC:GSH ->IA:
             *DA>8N 6C96AA8DHIH6HHD8>6I:9L>I=6'DGI<6<::SH->IA:*DA>8N 
             
                                   68=E6GINL>AAE6N>IHDLC6IIDGC:NH6C9688DJCI6CIH 
             
                     ,:8I>DC  JN:GH=6AACDI7:D7A><6I:9ID8ADH:DCI=:EJG8=6H:D;I=:*GDE:GINJCI>A
             I=:;DAADL>C<8DC9>I>DCHEG:8:9:CIQ99>I>DC6ADC9>I>DCHR =6K:7::CH6I>H;>:9
                     
                     6     -=:*GDE:GIN>HA:<6AANHJ79>K>9:96C9EA6II:9>C688DG96C8:L>I=6EEA>867A:A6L
             6H6H:E6G6I:I6ME6G8:A 6I,:AA:GSHHDA:8DHI 
                     
                     7     JN:G=6H7::CEGDK>9:97N,:AA:GDGI=>G9E6GI>:H6AA9D8JB:CIH >CHIGJB:CIH6C9
             6<G::B:CIH >C G:8DG967A: ;DGB 688:EI67A: ID JN:G ID EGDK>9: ;DG >  EGDI:8I>DC ;DG JH:
             :M8AJH>K:H ;DG I=: JH: 7N JN:GSH I:C6CI  >>  8GDHH E6G@>C< 6C9 8GDHH 688:HH :6H:B:CIH L>I=
             69?68:CI EGDE:GI>:H 6H 9:I:GB>C:9 ID 7: C:8:HH6GN 7N JN:G  6C9 >>>  6C :6H:B:CI 7:C:;>II>C<
             JN:G6C9I=:*GDE:GINDC6I=>G9E6GINSHEGDE:GIN;DGI=:>CHI6AA6I>DC6C9DE:G6I>DCD;6ENADC
             H><C;DGJN:GSHI:C6CI>C6AD86I>DC688:EI67A:IDJN:G>C>IHHDA:9>H8G:I>DC 
                     
                     8     CN6B:C9B:CIDGBD9>;>86I>DCID:M>HI>C<:6H:B:CIH 8DK:C6CIH6C9G:HIG>8I>DCH
             =6K:7::C8DBEA:I:96C96G:G:69NID7:G:8DG9:9>CI=:G:6A:HI6I:G:8DG9H6HG:FJ>G:97NJN:G 
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                      9     JN:G H=6AA =6K: G:8:>K:9 6AA <DK:GCB:CI6A 6EEGDK6AH 6C9 E:GB>IH ;DG >IH
             9:K:ADEB:CI6C9>CI:C9:9JH:6C9>BEGDK:B:CIH 
                      
                      :     -=:*GDE:GIN>HODC:9;DGJN:GSH>CI:C9:9JH:D;I=:*GDE:GIN 
                      
                      ;     ,:AA:G =6H I:GB>C6I:9 DG L>AA I:GB>C6I: 6I ADH>C< 6CN 6C9 6AA 6<G::B:CIH
             8DC8:GC>C<I=:*GDE:GIN L=>8=JN:G9D:HCDI6<G::>CLG>I>C<ID6HHJB: 
                      
                      <     JN:G =6H D7I6>C:9 HJ>I67A: ;>C6C8>C<  6H 9:I:GB>C:9 7N JN:G >C >IH 9>H8G:I>DC 
             ;DG>IH68FJ>H>I>DCD;I=:*GDE:GIN 
                      
                      #CI=::K:CII=:99>I>DC6ADC9>I>DCH6G:CDIH6I>H;>:9L>I=>CIL:CIN 96NH6;I:GI=:
             :ME>G6I>DCD;I=: :6H>7>A>IN*:G>D9 JN:GB6NI:GB>C6I:I=>HDCIG68I6C9G:8:>K:6G:;JC9D;>IH
             6GC:HI'DC:N 
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             
                      ,:8I>DC #CI:CI>DC6AAN:A:I:9
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                      ,:8I>DC #CI:CI>DC6AAN:A:I:9
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                      ,:8I>DC  #C I=: :K:CI I=6I E:G;DGB6C8: D; I=>H DCIG68I >H I:C9:G:9 7N I=: ,:AA:G
             6C9I=:H6A:>HCDI8DCHJBB6I:9I=GDJ<=9:;6JAIDCI=:E6GID;I=:JN:GDCI=:ADH>C<6I: 
             I=:C I=: 6GC:HI 'DC:N H=6AA 7: 9:A>K:G:9 ID I=: ,:AA:G 6H A>FJ>96I:9 96B6<:H ;DG I=: JN:GH
             9:;6JAI 6HI=:,:AA:GHHDA:G:B:9N ,J8=6BDJCI>H6<G::9JEDC7N6C97:IL::CI=:,:AA:G6C9
             I=: JN:G 6H A>FJ>96I:9 96B6<:H  9J: ID I=: 9>;;>8JAIN 6C9 >C8DCK:C>:C8: D; 6H8:GI6>C>C< 6C9
             B:6HJG>C<68IJ6A96B6<:H 6C9I=:JC8:GI6>CINI=:G:D;6C9CDDI=:G96B6<:H G><=IHDGG:B:9>:H
             H=6AA>C6CN86H:7:8DAA:8I>7A: :C;DG8:67A:DG6K6>A67A:IDI=:,:AA:G 
                      
                      ,:8I>DC   #C I=: :K:CI E:G;DGB6C8: D; I=>H DCIG68I >H I:C9:G:9 7N I=: JN:G 6C9 I=:
             H6A:>HCDI8DCHJBB6I:9I=GDJ<=9:;6JAIDCI=:E6GID;I=:,:AA:GDCI=:ADH>C<6I: DG>;,:AA:G
             ;6>AHIDE:G;DGB>IHDI=:GD7A><6I>DCHJC9:GI=>HDCIG68I I=:CJN:GB6N:A:8I> IDI:GB>C6I:
             I=>H DCIG68I 6C9 >IH 6GC:HI 'DC:N L>AA 7: >BB:9>6I:AN G:IJGC:9 ID JN:G 7N I=: ->IA:
             DBE6CN 6C9,:AA:GH=6AAE6NJN:G;DGJN:GSHDJID;ED8@:I:ME:CH:H>CE:G;DGB>C<>IH9J:
             9>A><:C8: 6C9 >CHE:8I>DCH  >C8AJ9>C<  L>I=DJI A>B>I6I>DC  6IIDGC:NSH ;::H 6C9 :ME:CH:H DG >> 
             JN:GH=6AA7::CI>IA:9ID:C;DG8:HE:8>;>8E:G;DGB6C8:D;I=>HDCIG68I 
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                      ,:8I>DC   AA CDI>8:H  9:B6C9H  DG DI=:G 8DBBJC>86I>DCH D; 6CN INE: =:G:>C
             8DAA:8I>K:AN G:;:GG:9 ID 6H     <>K:C 7N I=: ,:AA:G ID I=: JN:G DG 7N I=: JN:G ID I=:
             ,:AA:G L=:I=:GG:FJ>G:97NI=>HDCIG68IDG>C6CNL6NG:A6I:9IDI=:IG6CH68I>DC8DCIG68I:9;DG
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             =:G:>C  H=6AA 7: KD>9 6C9 D; CD :;;:8I JCA:HH <>K:C >C 688DG96C8: L>I= I=: EGDK>H>DCH D; I=>H
             GI>8A:   AA CDI>8:H H=6AA 7: >C LG>I>C< 6C9 9:A>K:G:9 ID I=: E:GHDC ID L=DB I=: CDI>8: >H
             9>G:8I:9 :>I=:G>CE:GHDCDG7N.C>I:9,I6I:H'6>A 6H6G:<>HI:G:9DG8:GI>;>:9>I:B G:IJGCG:8:>EI
             G:FJ:HI:9  DG 7N 6C DK:GC><=I B6>A H:GK>8:  (DI>8:H 9:A>K:G:9 7N B6>A H=6AA 7: :;;:8I>K: L=:C
             9:EDH>I:9 >C 6 EDHI D;;>8: DG DI=:G 9:EDH>IDGN JC9:G I=: 86G: DG 8JHID9N D; I=: .C>I:9 ,I6I:H
             *DHI6A,:GK>8: :C8ADH:9>C6LG6EE:GL>I=EGDE:GEDHI6<:6;;>M:9 699G:HH:9 

                               >;IDI=:,:AA:G 6H;DAADLH

                               *!*+,-#! #C8 
                               6G:D;$:;;6GGJI=
                               '6IAD8@+9
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             >I=:GE6GIN=:G:IDB6N8=6C<:I=:699G:HH;DGCDI>8:HE:8>;>:967DK:7N<>K>C<I=:DI=:GE6GIN
             I:C 96NH69K6C8:LG>II:CCDI>8:D;HJ8=8=6C<:D;699G:HH 

                     ,:8I>DC CNG:EG:H:CI6I>DC L6GG6CIN 8DK:C6CIDG6<G::B:CI=:G:>CD;:>I=:GE6GIN
             IDI=>HDCIG68IL=:I=:GID7:E:G;DGB:97:;DG:DG6;I:GI=:I>B:D;ADH>C<H=6AACDI7:9::B:9
             ID7:B:G<:9>CIDDGL6>K:97NI=:>CHIGJB:CIHD;ADH>C< 7JIH=6AA:MEG:HHANHJGK>K:ADH>C<
             6C9H=6AA7:7>C9>C<JEDCI=:E6GIND7A><6I:9I=:G:7N 


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                      ,:8I>DC #I>H=:G:>C6<G::9I=6II=>HDCIG68IB6N7:6HH><C:9 8DCK:N:9DGHDA97N
             I=:JN:GID6QID7:;DGB:9R9:K:ADEB:CI8DBE6CNDGID6CNE:GHDC ;>GB 8DGEDG6I>DCDGDI=:G
             :CI>IN 6C9 H=6AA 7: 7>C9>C< JEDC 6C9 >CJG: ID I=: 7:C:;>I D; I=: E6GI>:H =:G:ID  I=:>G =:>GH 
             :M:8JIDGH  69B>C>HIG6IDGH 6C9 6HH><CH EGDK>9:9 I=6I >  I=: 6HH><C:: 6HHJB:H 6AA D7A><6I>DCH
             JC9:GI=>HDCIG68I G:<6G9A:HHL=:C6G>H>C<6C9>> JN:GH=6AAG:B6>CA>67A:;DG6AAD7A><6I>DCH
             JC9:GI=>H<G::B:CIG:<6G9A:HHL=:C6G>H>C< >C8AJ9>C<7JICDIA>B>I:9IDI=DH:6G>H>C<6;I:GI=:
             6HH><CB:CI 

                    ,:8I>DC -=:D7A><6I>DCHD;I=:E6GI>:H=:G:IDH=6AA7:E:G;DGB67A:>CA*6HDDJCIN 
             -:M6H  -"#, )(-+- ,"&&  )(,-+. ( #(-+*+- #(
             )+(0#-"-"&0,) -",--) (0'1#) 0=:G:G:FJ>G:9;DG
             EGDE:G>CI:GEG:I6I>DC LDG9H>CI=:H>C<JA6GH=6AA>C8AJ9:I=:EAJG6AI=:B6H8JA>C:<:C9:GH=6AA
             >C8AJ9:I=:C:JI:G6C9I=:;:B>C>C: 6C9K>8:K:GH6 -=:I:GBH#!   
             H=6AA>C8AJ9:HJ88:HHDGH A:<6AG:EG:H:CI6I>K:H6C96HH><CH 

                     ,:8I>DC -=>HDCIG68IB6NCDI7:BD9>;>:9DG6B:C9:9 :M8:EI7N6C6<G::B:CI>C
             LG>I>C<H><C:97NI=:,:AA:G6C9I=:JN:G -=:E6GI>:HB6NL6>K:6CND;I=:8DC9>I>DCH8DCI6>C:9
             =:G:>C DG 6CN D; I=: D7A><6I>DCH D; I=: DI=:G E6GIN =:G:JC9:G  7JI 6CN HJ8= L6>K:G H=6AA 7:
             :;;:8I>K:DCAN>;>CLG>I>C<6C9H><C:97NI=:E6GINL6>K>C<HJ8=8DC9>I>DCHDGD7A><6I>DCH 

                     ,:8I>DC 68=E:GHDC:M:8JI>C<I=>HDCIG68IL6GG6CIH6C9G:EG:H:CIHI=6I=:DGH=:>H
             ;JAAN6JI=DG>O:9ID9DHD 

                      ,:8I>DC ->B:>HD;I=::HH:C8:D;I=>HDCIG68I 

                      ,:8I>DC   #C I=: :K:CI >I 7:8DB:H C:8:HH6GN ;DG :>I=:G E6GIN =:G:ID ID ;>A: 6 HJ>I ID
             :C;DG8:I=>HDCIG68IDG6CNEGDK>H>DCH8DCI6>C:9=:G:>C I=:E6GINEG:K6>A>C<>CHJ8=68I>DCH=6AA
             7: :CI>IA:9 ID G:8DK:G  >C 699>I>DC ID 6AA DI=:G G:B:9>:H DG 96B6<:H  G:6HDC67A: 6IIDGC:NH ;::H
             >C8JGG:9>CHJ8=HJ>I 

                    ,:8I>DC   -=: 9:H8G>EI>K: =:69>C<H D; I=: H:K:G6A GI>8A:H  ,:8I>DCH 6C9 *6G6<G6E=H
             8DCI6>C:9 >C I=>H DCIG68I 6G: >CH:GI:9 ;DG 8DCK:C>:C8: DCAN 6C9 H=6AA CDI 8DCIGDA DG 6;;:8I I=:
             B:6C>C<DG8DCHIGJ8I>DCD;6CND;I=:EGDK>H>DCH=:G:D; 

                     ,:8I>DC -=>HDCIG68I >C8AJ9>C<I=:M=>7>IH=:G:ID6C9I=:>I:BHID7:;JGC>H=:9
             >C 688DG96C8: =:G:L>I=  8DCHI>IJI:H I=: :CI>G: 6<G::B:CI 6BDC< I=: E6GI>:H E:GI6>C>C< ID I=:
             HJ7?:8I B6II:G =:G:D; 6C9 HJE:GH:9:H 6AA EG>DG 6C9 8DCI:BEDG6C:DJH 6<G::B:CIH 6C9
             JC9:GHI6C9>C<H D; I=: E6GI>:H >C 8DCC:8I>DC I=:G:L>I=  (D G:EG:H:CI6I>DC  L6GG6CIN  8DK:C6CIH 
             6<G::B:CIDG8DC9>I>DCCDI:MEG:HH:9>CI=>HDCIG68IH=6AA7:7>C9>C<JEDCI=:E6GI>:H=:G:IDDG
             H=6AA6;;:8IDG7::;;:8I>K:ID>CI:GEG:I 8=6C<:DGG:HIG>8II=:EGDK>H>DCHD;I=>HDCIG68I 

                    ,:8I>DC DDE:G6I>DC>C*DHH>7A:&>@: %>C9M8=6C<: >I=:G,:AA:GDGJN:GB6N
             8DCHJBB6I:I=:H6A:D;I=:*GDE:GIN6HE6GID;6HD 86AA:9A>@:@>C9:M8=6C<:I=:# 
             EJGHJ6CIIDPD;I=:#CI:GC6A+:K:CJ:D9:D; 6H6B:C9:9I=: EGDK>9:9
             I=6I7NI=>H<G::B:CIDGI=:DI=:GE6GINSH68FJ>:H8:C8:IDI=:M8=6C<:> I=:ADH>C<H=6AA
             CDI7:9:A6N:9DG69K:GH:AN6;;:8I:9>> I=:8DCHJBB6I>DCDG688DBEA>H=B:CID;I=:M8=6C<:
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             H=6AACDI7:68DC9>I>DCEG:8:9:CIDG8DC9>I>DCHJ7H:FJ:CIIDI=:DI=:GE6GINHD7A><6I>DCHJC9:G
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             6HH><CB:CI D; I=: EJG8=6H: 6C9 H6A: 6<G::B:CI ;DG I=: :M8=6C<: EGDE:GIN DG 7: G:FJ>G:9 ID
             68FJ>G:DG=DA9I>IA:ID6CNG:6AEGDE:GINDI=:GI=6CI=:*GDE:GINHDA9JC9:GI=>H<G::B:CI ;DG
             EJGEDH:H D; 8DCHJBB6I>C< I=: M8=6C<: K>  I=: E6GIN H::@>C< HJ8= A>@: @>C9 :M8=6C<:
             IG:6IB:CIH=6AAE6N6CN699>I>DC6A8DHIHDG>C8JG6CND7A><6I>DCHI=6ILDJA9CDIDI=:GL>H:=6K:
             7::C>C8JGG:97NJN:GDG,:AA:G=69I=:H6A:CDI7::C8DCHJBB6I:9I=GDJ<=I=:M8=6C<:K>> 
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             6C9;GDB6CN6C96AAA>67>A>IND886H>DC:9I=:G:7N6C9K>>> C:>I=:GE6GINH=6AACDI7:G:HEDCH>7A:
             ;DG8DBEA>6C8:L>I=DG7:9::B:9ID=6K:L6GG6CI:9IDI=:DI=:GE6GINI=6II=:M8=6C<:>C;68I
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